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Memorandum
To:     The Honorable Patti B. Saris, Chief U.S. District Judge
From:   Jeffrey Smith, Supervisory U.S. Probation Officer
CC:     Jennifer Serafyn, Assistant U.S. Attorney
Date:   November 6, 2019
Re:     Joel Wetmore (Dkt. 07-CV-12058)



The purpose of this memorandum is to respond to the Motion for Amendment of Conditional Release for the above-
captioned individual. As Your Honor may recall, Mr. Wetmore was approved for a Conditional Release pursuant to
18 U.S.C. § 4248(e) on December 23, 2018. Since his release to the community on February 7, 2019, Mr. Wetmore
has been supervised by Michael Barker, Senior U.S. Probation Officer in the District of Maine.

Defense Counsel, in consultation with U.S. Probation has proposed modifying Mr. Wetmore’s conditions to allow
him to transition from the Pharos House to a more independent living situation and to modify the terms of his
location monitoring to comply with a curfew for a period of twelve months. This writer has spoken with Jennifer
Serafyn, Assistant U.S. Attorney, and there are no objections.

Should the Court approve these modifications, all parties would request the following language:

A. Joel Wetmore shall remain at the Pharos House for a term of up to twelve months or until such time that
he secures a personal residence approved by the probation department.

B. Joel Wetmore shall comply with a curfew, to be set by the probation department. During this time, he is
restricted to his residence every day as directed by his supervising officer and shall comply with the
program and electronic monitoring procedures as directed by the supervising officer. He shall pay/co-pay
for services directly to the monitoring company, to the supervising officer’s satisfaction. During the curfew
period, the Court authorizes a search of his geographic location and movements by the probation officer
via the program’s equipment.

Mr. Wetmore’s current conditions require him to reside at the Pharos House for twelve months and his requirement
for home confinement has limited his time in the community. The probation department is hopeful that allowing him
to release from the Pharos House to a residence approved by probation, will allow him to continue his transition
into the community while extending opportunities for him to visit family in the Bangor area and solidify his long-term
plans for housing and support in the community. The probation department has identified a potential address for
Mr. Wetmore to transition to in Portland, but the availability is unknown at this time and he would need to remain at
the Pharos House until it was solidified.

If Your Honor concurs with these proposed modifications, could you please indicate by endorsing below. As always,
if Your Honor has any specific questions, please feel free to contact me directly at 617-748-9199.


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Reviewed and Approved by:



/s/ Brian McDonald
Brian McDonald
Deputy Chief. U.S. Probation Officer



[ ] I Concur, Modifications Approved

[ ] I Do Not Concur

[ ] Other_________________________________________________




                                                             ____________________________

                                                             The Honorable Patti B. Saris
                                                             Chief U.S. District Judge
                                                             Date:_______________________




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